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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

___________________________________

IN RE: PHILIPS RECALLED CPAP,       §                Master Docket: Misc. No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL        §
VENTILATOR PRODUCTS LITIGATION §
                                    §
This document relates to:           §
                                    §                MDL No. 3014
RUSSELL D. CARTER, JR.              §
                                    §
       Plaintiff,                   §                PLAINTIFF’S MOTION TO REMAND
                                    §
                                    §
vs.                                 §
                                    §
                                    §
KONINKLIJKE PHILIPS N.V.;           §
PHILIPS NORTH AMERICA LLC:          §
PHILIPS RS NORTH AMERICA LLC;       §
PHILIPS HOLDINGS USA, INC.;         §
PHILIPS RS NORTH AMERICA            §
HOLDING CORPORATION;                §
POLYMER TECHNOLOGIES, INC.;         §
and                                 §
POLYMER MOLDED PRODUCTS LLC §
                                    §
       Defendants.                  §
___________________________________

         COMES NOW Plaintiff, Russel D. Carter, Jr., by and through his attorney, Russell D.

Carter III, and pursuant to 28 U.S.C. § 1407(a) hereby moves the Court to remand the

aforementioned case to the original federal district court – the U.S. District Court of the Eastern

District of Arkansas (Delta Division 2:22-cv-00030-BSM).



                                     I.      INTRODUCTION
   1.    On January 3, 2022, Plaintiff filed a complaint in the Circuit Court of Lee County,
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Arkansas, seeking personal injury damages from Defendants Koninklijke Philips, N.V., Philips

North America LLC, and Philips RS North America LLC.

   2. On February 17, 2022, Defendants Philips RS North America LLC and Philips North

America LLC filed a Notice of Removal to Federal District Court in the Eastern District of

Arkansas.

   3. On March 2, 2022, the United States Judicial Panel on Multidistrict Litigation, entered a

Conditional Transfer Order pursuant to 28 U.S.C. § 1407 transferring this matter to the U.S.

District Court of the Western District of Pennsylvania as part of MDL. No. 3014.

   4.    On October 9, 2024, lead counsel for Plaintiffs filed an Unopposed Motion of Settlement

Class Representatives that was subsequently approved by this Court.

   5. Notwithstanding the diligent work of Plaintiffs’ Lead Counsel and this Court of

managing this extremely complex litigation, Plaintiff Russell D. Carter Jr., made the difficult

decision to not participate in the Settlement Agreement because it required him to release his

claims before he knew what compensation he would receive as consideration.

                                        II.     ARGUMENT
   6. Pursuant to 28 U.S.C § 1407(a), cases transferred by the United States Judicial Panel on

Multidistrict Litigation should be remanded to the original district court when pretrial

proceedings have ended.

   7. Pretrial proceedings in MDL No. 3014 have ended, and Plaintiff prays for this Honorable

Court to remand his case to the U.S. Court of the Eastern District of Arkansas to begin trial

proceedings.

         WHEREFORE, Plaintiff respectfully prays to this Honorable Court to remand this case

to the U.S. District Court of the Eastern District of Arkansas (Delta Division 2:22-cv-00030-

BSM) and for all other relief he may be entitled.
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DATED:         February 24, 2025


                                              Respectfully Submitted,

                                              /s/ Russell D. Carter III
                                              Russell D. Carter, III
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                                              Jonesboro, Arkansas 72401
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                                              (501) 941-8946

                                CERTIFICATE OF SERVICE

        I hereby certify on February 24, 2025, a copy of the foregoing was filed electronically
through the CM/ECF system, and that a true and correct copy was automatically served via
electronic mail to all counsel of record.


                                              /s/ Russell D. Carter III
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